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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                   )
                                           )
       v                                   )       Criminal No. 2:19-cr-149-JDL
                                           )
ERIC MERCADO                               )
STEVEN HARDY                               )

                      GOVERNMENT’S VERSION OF THE OFFENSE

       Had the case proceeded to trial, the Government would produce evidence that would

establish beyond a reasonable doubt that from approximately May 10 and May 11, 2019, Eric

Mercado and Steven Hardy conspired with each other and other persons in a scheme to rob an

individual (hereinafter “Victim”) who was engaged in the business of distributing marijuana. In

addition, the evidence would establish beyond a reasonable doubt that Eric Mercado and Steven

Hardy each discharged a firearm during the attempted robbery.

       The evidence would include electronic location evidence, text messages, eyewitness and

law enforcement testimony, and forensic evidence from the crime scene. The evidence would

establish the following facts:

       Victim was familiar with Nathaniel Rivera through his marijuana distribution

business. On May 10, 2019, Rivera called Victim and told Victim he was with two girls

who wanted to come over and party. Rivera and two females later showed up at Victim’s

residence. All four individuals consumed alcohol and socialized at Victim’s.

       Prior to going to Victim’s house, Rivera, Mercado, and Hardy had made a plan in

which Rivera and the girls would act as a ruse to get access into Victim’s house and then

unlock the door to allow Mercado and Hardy to enter the house and rob the victim of drugs

and drug proceeds. Mercado, Hardy, Rivera, and the girls travelled from Massachusetts to

York, Maine on the evening of May 10, 2019.
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       As planned, Rivera at one point unlocked an entry door to Victim’s residence.

Rivera then texted Mercado and Hardy who were waiting outside the residence that the door

was unlocked. Mercado and Hardy soon thereafter entered the house through that door.

Mercado was carrying a shotgun and Hardy was carrying a handgun. Mercado and Hardy

attempted to rob the victim but he resisted. Hardy and Mercado discharged their weapons

inside the house. Victim was able to flee the house and escape by running down the

driveway. Rivera and the two females left in the vehicle in which they arrived. Mercado

and Hardy stole the victim’s truck and fled.

Dated February 24, 2020                    Halsey B. Frank
                                           United States Attorney


                                           /s/Daniel J. Perry
                                           Daniel J. Perry
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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2020, I emailed the foregoing Government’s
Version of the Offense to:

       Robert Levine, Esq.
       John Webb, Esq.

                                           Halsey B. Frank
                                           United States Attorney


                                           /s/Daniel J. Perry
                                           Assistant United States Attorney




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